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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
 UNITED STATES OF AMERICA              :                          Notice of Appearance
                                       :
           - v. –                      :                          24 Cr. 556 (DEH)
                                       :
 ERIC ADAMS,                           :
                                       :
                      Defendant.       :
                                       :
 ------------------------------------- X

TO: Clerk of Court
United States District Court
Southern District of New York

        The undersigned attorney respectfully requests the Clerk to note his appearance in this case
and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this
case.

                                                  Respectfully Submitted


                                                  ___________/s/_________________
                                                  EMIL BOVE
                                                  Acting Deputy Attorney General
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                                                  emil.bove@usdoj.gov
      Case 1:24-cr-00556-DEH            Document 121        Filed 02/14/25       Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will serve all counsel of record.

                                              _____________/s/___________
                                              Edward Sullivan
                                              Senior Litigation Counsel

Dated: February 14, 2025




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